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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 HARVEY KALAN, M.D., et al.
 individually and on behalf of all others           C.A. No.: 2:15-CV-01435-WB
 similarly situated,
                                                    CLASS ACTION
 Plaintiffs,

 vs.

 FARMERS & MERCHANTS TRUST
 CO., et al.

 Defendants.



  DECLARATION OF IRA SILVERSTEIN IN SUPPORT OF PLAINTIFFS’ MOTION FOR
FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH FARMERS & MERCHANTS
     TRUST COMPANY OF CHAMBERSBURG AS SUCCESSOR BY MERGER TO
    COMMUNITY TRUST COMPANY, PLAN OF ALLOCATION OF SETTLEMENT
    PROCEEDS, AND AWARD OF ATTORNEYS’ FEES AND REIMBURSEMENT OF
                              EXPENSES


       I, Ira B. Silverstein, declare as follows:

Introduction and Qualifications

   1. I am a licensed attorney in the Commonwealth of Pennsylvania and was admitted to the

bar of this Honorable Court in 1973. I am currently the principal of The Silverstein Firm, LLC

(“TSF”). I am co-lead counsel for the named plaintiffs in the above captioned matter and submit

this declaration in support of the contemporaneously filed Plaintiffs’ Motion for Final Approval

of Class Action Settlement, Plan of Allocation of Settlement Proceeds, and Award of Attorneys’

Fees and Reimbursement of Expenses.

   2. I have personal knowledge of the facts in this declaration, and if called upon to do so, I

could and would competently testify thereto.
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3. I have practiced in the area of complex litigation for over 40 years in a number of contexts

   and have extensive experience in ERISA and internal fraud litigation.

4. I obtained my J.D. from Harvard Law School in 1973. Prior to that I obtained an M.A. in

   political science from U.C. Berkeley (1970) and a B.A. with honors from Yale University

   (1969).

5. Upon graduation from law school I worked as an attorney at Community Legal Services in

   Philadelphia from 1973 to 1976. During that time, I prosecuted two successful class

   actions in this Honorable Court on behalf of indigent clients. The first resulted in a consent

   decree changing the procedures for replacing lost or stolen welfare checks. The second

   modified PGW’s then practice of basing employment decisions on arrest records.

6. From 1976 to 1989, I practiced as a union-side labor lawyer, first at Meranze, Katz, Spear

   & Wilderman and then at Spear Wilderman. I became a partner at the first firm and was a

   founding partner and managing partner of the second firm.

7. During my 13 years as a union-side labor lawyer, I represented numerous Taft-Hartley

   benefit plans which, after 1974, were subject to ERISA. As a consequence, my practice

   became increasingly focused on compliance with ERISA and ERISA related litigation.

8. From 1989 through 1999 I was a partner at Fox Rothschild. During that time my practice

   focused both on ERISA and insider misconduct. I was lead counsel in the seminal ERISA

   case, Glaziers & Glassworkers Union Local No. 252 Annuity Fund v. Newbridge Sec., 93

   F.3rd 1171 (3rd Cir. 1996), which I successfully argued before the Third Circuit. The case

   resulted in a substantial recovery from third-parties for an employee benefit plan defrauded

   by its investment advisor.
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9. Also, while at Fox Rothschild, I was lead counsel for the Insurance Commissioner of the

   Commonwealth of Pennsylvania in her capacity as Liquidator of two insolvent life

   insurance companies. In that role and in various forums, I successfully recovered virtually

   all of the funds embezzled by insiders (some $70 million). See, for example, Kaiser et al.

   v. Stewart, et al., E.D.Pa., 2:96-cv-06643-HB.

10. I have also been lead counsel for defendants in class actions, including ERISA class

   actions, and lead counsel for a group of over 50 retirees seeking health benefits in which a

   substantial settlement was obtained. Ament et al. v. Bowe Bell + Howell Company, N.D.

   Il., 1:06-cv-02856.

11. More recently, I have been appointed by Judge Bernstein of the Philadelphia Court of

   Common Pleas as Class Special Co-Master to oversee, hold, disburse and administer the

   distribution fund of over $240,000,000 in the Wal-Mart Stores wage class actions pending

   in that state court. Braun v. Wal-Mart and Hummel v. Wal-Mart, Phila. C.P. March Term

   2002, No. 3127 and August Term 2004, No. 3757. In addition, I am lead counsel for a

   group of plaintiffs in two state-law retirement plan related cases pending in Florida. Jose

   Rodriguez, et al., v. City Of Miami, City Of Miami General Employees’ And Sanitation

   Employees’ Retirement Trust, et al., Case No. 14-7997 CA 01 (22), and Lieutenant Jorge

   Castro et al., v. City Of Miami Firefighters’ and Police Officers’ Retirement Trust & Plan,

   and The Board Of Trustees Of The City Of Miami Firefighters’ and Police Officers’

   Retirement Trust, et al., Case No. 14-7987 CA 01 (22).

12. Since 2003, I have been continuously involved in litigation related to the REAL VEBA

   and the SEWBPT, successfully obtaining death benefits for two sets of beneficiaries. REAL

   VEBA v. Castellano, E.D. Pa., 2:03-cv-06903-WB and Langlais et al. v. PennMont Benefit
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   Services, Inc. et al., E.D. Pa., 2:11-cv-05275-WB. I have also successfully prosecuted a

   REAL VEBA related class action on behalf of the same class proposed in the instant case.

   Kalan et al, v. Montgomery McCracken, E.D. Pa., 2:14-cv-06985-WB

13. I currently represent 25 plans, their sponsors, or their participants either in REAL VEBA

   litigation pending before this Court or with respect to their interests in Acosta v. Koresko

   et al., E.D.Pa., 2:09-cv-0988-WB. All of these clients are within the proposed settlement

   class. Because of these representations, I have often acted as a de facto representative of

   the class members’ interests during the course of the Acosta litigation. Numerous attorneys

   for class members as well as unrepresented class members have regularly turned to me for

   updates and consultations concerning issues surrounding the Koresko Arrangement and the

   impact of the Acosta case on their interests.

14. Particularly through the Castellano case, I think it is fair to say that I was the primary

   moving force in leading the Department of Labor to uncover, prosecute and bring a stop to

   the massive fraud the Koresko Parties were engaged in. Over the course of 12 years of

   litigation, I have extensively investigated the facts and law surrounding the REAL VEBA

   scam and, more recently, have extensively researched the facts and law surrounding the

   claims asserted in the above captioned case. This investigation has included extensive

   review of documents obtained from clients, from discovery, through diligent monitoring

   of Acostaz, and through personal investigation and research.

15. Mr. Lefkowitz and I have knowledge of the substantive and procedural law applicable to

   this case and we have the ability and willingness to commit significant resources toward

   its prosecution.
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Negotiation of the Proposed Settlements

16. I was personally involved in negotiating the proposed settlement with F&M, currently

   before the Court for approval. Negotiations were preceded by two motions to dismiss and

   substantial document discovery.

17. The negotiations were arms-length and the Settlement Agreement attached hereto as

   Exhibit A was and is the only agreement between the parties other than the collateral

   agreement attached as Exhibit B.

18. The proposed settlement is the result of two separate mediations, a full day mediation

   before former Magistrate Judge Diane Welsh, and a full day mediation (plus partial days

   of telephonic sessions) before former Magistrate Judge John Hughes who was appointed

   by this Honorable Court.



Class counsel’s evaluation of the settlement

19. Based on co-counsel’s and my evaluation, I believe the settlement is an excellent result for

   the class. Since the proposed settlement calls for a payment of $10,000,000 as compared

   to the $175,000 consent judgment negotiated by the Department of Labor with the same

   defendant, the adequacy of the proposed settlement is manifest.

20. Though plaintiffs’ counsel believe their case is strong, continued litigation will be lengthy

   and expensive and not without significant risks. Key legal issues remain unresolved, e.g.,

   (i) the applicable statutes of limitations, (ii) the date the claims accrued for limitations

   purposes, (iii) whether F&M was a directed trustee, and (iv) the impact of the January 15,

   2010 order in Acosta removing F&M as trustee, awarding F&M its fees, and transferring

   the Trusts’ assets to the Koresko Parties. If any of these issues are resolved adversely to
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   plaintiffs either in the Court’s ruling on the pending motions to dismiss or later in the case,

   settlement value will be substantially impacted. And, even if they are all resolved in

   plaintiffs’ favor, given the significance of the legal issues, trial will likely be followed by

   appeals that will not only add to the cost and duration of the litigation but which will

   endanger the value of any favorable judgment that had been obtained.

21. As established in Acosta and in the motions to approve prior partial settlements in the

   instant case, the proposed settlement class covers over 200 participating plans and over 500

   participants. Joining all such plans and participants in a single suit is impracticable.

22. It is also highly unlikely there will be any objections to the proposed settlement. This will

   be the eighth settlement Mr. Lefkowitz and I have negotiated for the proposed class. In

   none of the prior settlements were there any objections filed and the instant settlement is

   for a sum far in excess of any of the prior settlements. In the one prior settlement that

   involved a non-mandatory class, there were no opt-outs.



Class Notice and Responses

23. After the Settlement Agreement was finalized and the Court gave preliminary approval to

   the settlement, and to a proposed form and method of class notice, notice was sent utilizing

   the class contact information obtained from The Wagner Law Group (“WLG”) in the

   Montgomery McCracken case. TSF handled sending out the required notice. A copy of the

   form of notice sent is attached hereto as Exhibit C.

24. On May 14, 2018, TSF sent out 249 emails using the email addresses provided by WLG

   and, on May 16, 2018, TSF mailed notices to 572 additional plans and participants using

   the addresses provided by WLG for employers for whom no email address was known.
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   Virtually all of the mailed notices sent out on May 16, 2018 were to inactive or terminated

   plans. Though some have been returned as undeliverable, no active plans’ notices have

   been returned as undeliverable,

25. As of the date of this declaration, we have not received any objections to the proposed

   settlement or the proposed common fund attorney’s fees from any class members and the

   case docket does not reveal any filed objections. I have received a number of phone calls

   and emails from class members but none voiced any objection. To the contrary, all

   expressed thanks and congratulations for our having secured the proposed settlement.




Support for fee and expense reimbursement request

26. Since March 2015 through the date of this declaration, TSF has expended over 2200 hours

   prosecuting this case.

27. I personally have spent over 2000 hours on this case. My current billing rate is $800 an

   hour. I am personally aware that Philadelphia attorneys with my background and

   experience regularly charge over $1,000 an hour for their services and former Judge

   Bernstein and current Judge Jacqueline Allen of the Philadelphia Court of Common Pleas

   have approved a rate of $790 an hour for my services in the Wal-Mart class action. The

   remaining time was paralegal time and associate time at $350 an hour and $150 an hour,

   respectively. Thus, the lodestar value of TSF’s work on this case, without factoring in any

   multiplier, exceeds $1,700,000. This does not include uncompensated time spent on

   numerous individual Koresko related cases that has been of substantial benefit to the

   prosecution of this class action.
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   28. New expenses incurred by TSF total $19,145.51, itemized as follows:

        Description                                 Date                 Total Price

        Advice on tax consequences of settlements   Jan 03, 2018               $2,200.00

        Conference call                             Jan 02, 2018                  $0.22

        Mediation fee                               Jan 02, 2018               $3,416.67

        Conference call service                     Dec 29, 2017                  $3.49

        Taxi fare                                   Dec 28, 2017                 $12.56

        Pre-mediation conference meal               Dec 27, 2017                $148.25

        Delivery to mediator                        Dec 20, 2017                  $5.39

        Delivery to mediator                        Dec 20, 2017                 $43.75

        Damages expert                              Oct 12, 2017               $7,906.00

        Conference call service                     Jul 10, 2017                  $5.20

        Mediation fee                               Jul 05, 2017                $410.66

        Conference call service                     Jul 03, 2017                  $4.91

        Prep session for mediation                  May 21, 2017                $156.72

        Binding for mediation presentation          May 18, 2017                $104.95

        Mediator's fee                              May 18, 2017               $3,808.34

        Mediator’s fee                              June 15, 2018               $237.00

        Class Notice printing and mailing           May 16, 2018                $681.40



I swear under penalty of perjury that the foregoing is true and correct. Executed this 15th day of

June 2018, in Philadelphia, Pennsylvania.


                                                         /s/ Ira Silverstein
                                                        Ira Silverstein
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                       Exhibit "
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                NOTICE OF CLASS CERTIFICATION AND PROPOSED SETTLEMENT


            READ THIS NOTICE CAREFULLY. YOUR LEGAL RIGHTS MAY BE AFFECTED


                                         YOU HAVE NOT BEEN SUED.


A federal court authorized this notice. This is not a solicitation from a lawyer

        A class action lawsuit ( t he “ Law s u it ”) is pending in the United States District C ourt for the
Eastern District of Pennsylvania (the “Court”) against a n u m b e r o f d e f e n d a n t s i n c l u d i n g
Farmers & Merchants Trust Company of Chambersburg As Successor by Merger to Community Trust
Company (“F&M”). The Lawsuit alleges that F&M improperly allowed John J. Koresko, V, PennMont
Benefit Services, Inc., Koresko and Associates, P.C., Koresko Law Firm, P.C. and Penn Public Trust (the
“Koresko Parties”) to convert funds that belonged to employee benefit plans, in violation of a federal statute
known as ERISA and state common law. The Lawsuit seeks to require F&M to make the benefit plans whole
by restoring the converted funds to certain trusts which Mr. Koresko created as part of an arrangement for
purchasing life insurance that you may have participated in. F&M denies any wrongdoing.

        Available records indicate that you participated in the life insurance arrangement promoted by Mr.
Koresko (“the Arrangement”), and that you or a related entity have a stake in the trusts Mr. Koresko created as
part of the Arrangement. The trusts are known as the REAL VEBA Trust (“REAL VEBA”) and the Single
Employer Welfare Benefit Plan Trust (“SEWBPT”). Collectively, the REAL VEBA and the SEWBPT will
be referred to as the “Trusts”.

         Plaintiffs hav e neg ot iat ed a s ettleme nt w it h F &M and asked the Court to approve the
s ettlement and to have the case proceed as a class action. As part of this process, the Court has
authorized this notice to be sent informing t h e m e m b e r s o f t h e “Class,” a group of people and entities that
could include you, of the proposed settlement and of your rights with respect to the lawsuit and the proposed
settlement. The Class consists of (i) any and all benefit plans, including those governed by the Employee
Retirement Income Security Act of 1974, also known as ERISA, and those not governed by ERISA, whose
assets, investments, or interests are held by the Regional Employers Assurance Leagues Voluntary Employees’
Beneficiary Association Trust, also known as the REAL VEBA Trust, or the Single Employer Welfare Benefit
Plan Trust also known as SEWBPT (together the “Trusts”), which Trusts are now under the control of a court-
appointed independent fiduciary; and (ii) any and all participants in and beneficiaries of, or individuals with
legal or beneficial interests in, the benefit plans whose assets, investments, or interests are held by the Trusts.
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                                       THE PROPOSED SETTLEMENT

        The proposed settlement provides for F&M to pay $10,000,000 (ten million dollars) for the benefit of the
Class through the court-supervised administration of the Trusts. In addition, the Plaintiffs are voluntarily
dismissing the claims they have asserted against the other remaining defendants. The voluntary dismissal
is without prejudice to your rights as it is not being done in the name of the Class. The proposed settlement
further provides for a release by Plaintiffs and the Class, and various parties associated with them, of all claims
that they ever had, now have, or hereafter can have against F&M arising out of or related to the claims and
causes of action which have been or could have been alleged in the Lawsuit. It further provides for a release by
F&M, and various parties associated with F&M, of all claims that they ever had, now have, or hereafter can have
against the Class arising out of or related to the claims and causes of action which have been or could have
been alleged in the Lawsuit. This release does not include any claims to enforce the Settlement Agreement.

                              BASIC INFORMATION ABOUT THE LAWSUIT

Why Did I Get this Notice?

       Records indicate that you are a member of the Class, i.e., you are a benefit plan, a participant in a
benefit plan, or a beneficiary of a benefit plan which was part of the Koresko Arrangement and whose assets
are held by the Trusts. This Notice explains that the Court has allowed, or “certified,” a class action lawsuit
that may affect you. You have legal rights that you may exercise. Judge Wendy Beetlestone of the United
States District Court for the Eastern District of Pennsylvania is overseeing this class action. The case
is known as Harvey Kalan, M.D., et al. v. Farmers & Merchants., Civil Action No. 2:15-CV-01435-WB.

What is the lawsuit about?

        In the L awsuit, Plaintiffs, who are stakeholders in the Trusts, allege, on behalf of the Class, that
for about ten (10) years, beginning in 2004, the Koresko Parties misappropriated millions of dollars of the
Trusts’ assets, and made illegal payments from those funds to various law firms and other entities.
Plaintiffs seek to require F &M to c o m p e n s a t e the Trusts for any funds wrongfully taken by the
Koresko Parties while F&M or its predecessor, Community Trust Company (“CTC”), was trustee of the
Trusts. F&M has denied any wrongdoing or legal liability with regard to Plaintiffs' claims.

What is a class action and who is involved?

       In a class action lawsuit, one or more people called “Class Representatives,” sue on behalf of
themselves and other people who have similar claims. The people and entities who the Class Representatives
sue on behalf of are called a “Class” or “Class Members.” The Class Representatives and all the Class
Members are called Plaintiffs. F&M a n d o t h e r s the Plaintiffs sued are called the Defendants. One court
will resolve the issues r a i s e d b y t h e L a w s u i t for all Class Members.

What has happened in the lawsuit so far?

    T                          M              .A                                                   .S
                                                                                                 .T
                                   C                      C     .A
                                            F M. S

         . I                                                                                               .
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Is there any money available now?

      No money or benefits are available now. T he funds that will be paid by F&M as part
of the proposed settlement will be paid into the Trusts and the Court will decide how those
funds should be distributed as part of the process of dissolving the Trusts in a related case
brought by the United States Department of Labor, Acosta v. Koresko et al., E.D. Pa., 2:09-
cv-0988-WB. The money from the prior settlements has already been paid to the Trusts.


                 DETERMINING IF YOU ARE A MEMBER OF THE CLASS

How do I know if I am a Class Member?

       You are a member of the Class if you are a benefit plan whose assets are held by the
Trusts, or you are a participant in or a beneficiary of such a plan. If you are a member of the
Class, you should have been receiving communications from the Court in the Acosta case
advising you of your entitlement to a distribution from the Trusts. If you are not sure whether you
are included in the Class, you can get free help by calling or writing to the lawyers
representing the Class in this case at the phone numbers or addresses listed below.

                            YOUR RIGHTS AS A CLASS MEMBER

       As a member of the Class, you will benefit from the proposed settlement. You will also
be able to express your opinion as to whether the settlement is adequate and the fairness of the
fees and expenses to be awarded to the attorneys who handled the case on your behalf. You will be
bound by any decisions the Court makes concerning these matters.


Your options concerning the proposed settlement

       You have the right to express your opinion concerning the proposed settlement and
       the requested attorneys’ fees. You may do so by sending written notice to the lawyers
representing the Class      F M                                        C    . T
                                     . Any opposition to the proposed settlement must be
                 une           . The notice of opposition must include:


   •   Your name, address, and telephone number;
   •   A
   •   T
   •   T                       H           M.D.             . .F         M
         . C  A     N .      C          B.


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                                     S                                                F M             F M
   R                                                    .
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                           THE LAWYERS REPRESENTING THE CLASS

        The Court has appointed lawyers to represent the Class. These lawyers are called Class
  Counsel. The Court has approved two law firms to serve as Class Counsel, The Silverstein Firm
  and Wilshire Palisades Law Group, P.C. Their contact information is:
          The Silverstein Firm                      Wilshire Palisades Law Group,
                   LLC                                  PC c/o David Lefkowitz
      1515 Market Street, Ste. 1200                       1337 Ocean Avenue
         Philadelphia, PA 19102                     Suite A, Santa Monica, CA 90401
         Phone: (215) 854-4068                           Office (310)393-4929
                  Email:                                   Fax (310)393-5438
        irasilverstein@tsfllc.net                     Email: dl@wplawgroup.com


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How will Class Counsel be paid, and will the Class Representatives receive compensation?

        If a recovery is obtained for the Class, Class Counsel will request the Court to award
attorneys’ fees and expenses. Class Members are not personally liable or directly charged for any
such fees and costs. These fees and expenses have been incurred as Class Counsel pursued the
Lawsuit on behalf of the Class for three (3) years without receiving any compensation for their
services or reimbursement of their out-of-pocket expenses on the claims in the proposed settlement.
Class Counsel have undertaken significant risks and expended extensive time to prosecute this
Lawsuit and achieve this Settlement. They have done so with the expectation that, if they obtained
a recovery for the Class from F&M, their expenses would be reimbursed and they would receive
fees from the funds recovered. Class Counsel will apply to the Court for (i) attorneys' fees in the
amount of no more than thirty-five percent of the total class fund and (ii) reimbursement of
incurred expenses, not exceeding $150,000.

        In addition, in class actions, the Court may provide specific Class Members a “Service
Award” in recognition of the time, effort, and risks taken in the litigation of the case on behalf of
the Class. In this Lawsuit, Class Counsel will apply to the Court for the following Service Awards
to be paid based upon the extent of time, effort and risk taken by each individual to assist Class
Counsel in obtaining the Settlement for the Class: $35,000 for Class Representative Harvey Kalan;
$35,000 for Dr. and Mrs. Martin Zenni; and $35,000 for Dr. Pamela Erdman.
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Should I get my own lawyer?

         You do not need to hire your own lawyer because Class Counsel is representing you if you
stay in the Class. However, you are welcome to hire your own lawyer at your own expense. If you
hire a lawyer to speak for you or to appear in Court, your lawyer must file a Notice of
Appearance.

                             THE FINAL APPROVAL HEARING


       The Court will hold a Final Approval Hearing at the United States District Court for the
Eastern District of Pennsylvania, 601 Market Street, Philadelphia, PA 19106, in Courtroom 3-B,
on ul             , at      a.m., to decide whether to grant final approval of the proposed
settlement. If the proposed settlement is approved, the Court will also hold a hearing on Class
Counsel’s application for payment of attorney fees and reimbursement of costs. It is not necessary
for you to appear at the hearings. The hearings may be postponed without further notice to the
Class.


                             GETTING MORE INFORMATION

        This Notice contains a summary of relevant court papers. Complete copies of public
pleadings, Court rulings and other filings are available for review and copying at the Clerk’s
office. The address is James A. Byrne U.S. Courthouse, 601 Market Street, Philadelphia, PA
19106. Information is also available from Class Counsel.

Please do not contact the Court or Judge Beetlestone. They cannot answer any questions or
discuss the Action with you.

DATED:         , 2018                                  The Honorable Wendy Beetlestone
                                                       United States District Judge,
                                                       Eastern District of Pennsylvania

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